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              In the United States Court of Federal Claims

                                           No. 14-183L
                                      (Filed: May 16, 2018)


                                              )
    IDEKER FARMS, INC., et al.,               )
                                              )
                        Plaintiffs,           )
                                              )
    v.                                        )
                                              )
    THE UNITED STATES,                        )
                                              )
                        Defendant.            )
                                              )


                                           ORDER

       The court is in receipt of the government’s motion (ECF No. 436), filed May 14,
2018, for reconsideration of the court’s February 23, 2018 trial opinion (ECF No. 422)
and plaintiffs’ May 15, 2018 motion (ECF No. 437) to consolidate briefing on the parties’
motions for reconsideration and the briefing as provided by the court’s April 24, 2018
order (ECF No. 433). Plaintiffs’ motion is opposed by defendant (ECF No. 438). After
consideration the plaintiffs’ motion is DENIED and the court ORDERS as follows:

         1.     The briefing schedule is as follows:

                May 31, 2018          The parties shall file response briefs addressing the
                                      opposing party’s arguments concerning the impact of
                                      the St. Bernard Parish decision on the plaintiffs’
                                      motion for reconsideration.

                May 31, 2018          Plaintiffs shall file a response to the government’s
                                      motion for reconsideration (ECF No. 436). 1

1
 Plaintiffs may file a combined brief addressing defendant’s argument of the impact of the St.
Bernard Parish decision on their motion for reconsideration and responding to defendant’s
motion for reconsideration.
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     June 15, 2018        Government shall file its reply in support of its motion
                          for reconsideration.

     The parties shall provide the court with a courtesy copy of their briefs in
     non-PDF electronic format (Word) via e-mail to the following address:
     “firestone_chambers@cfc.uscourts.gov”.

     The court will schedule a hearing on the parties’ motions for
     reconsideration once briefing is completed and the court has had an
     opportunity to review the filings.

2.   In light of the parties’ motions for reconsideration (ECF Nos. 429 and 436)
     the court VACATES its March 1, 2018 order (ECF No. 423) and a
     schedule for the next phase of the litigation will be set after the court rules
     on the parties’ motions for reconsideration.

IT IS SO ORDERED.

                                                  s/Nancy B. Firestone
                                                  NANCY B. FIRESTONE
                                                  Senior Judge
